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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORDA
                               Case No.: 1:23-cv-20727-RKA

   RYAN BRESLOW, et al.,

         Plaintiffs,

   v.

   MARK PHILLIPS, et al.,

         Defendants.

   _________________________/

   MOVEMENTDAO, et al.,

         Counterclaim-Plaintiffs,

   v.

   RYAN BRESLOW, et al.,

         Counterclaim-Defendants.




        DEFENDANT AND COUNTERCLAIM-PLAINTIFFS MARK PHILLIPS AND
               BENJAMIN REED’S INDEX OF ADMITTED EXHIBITS
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     Exhibit       Bates                               Description
     Number       Number
   301          000001-      MIP-0000: Adopt the Guiding Principles, Terms of Service, and
                000004       Code of Conduct, dated August 9, 2022
   302          000005-      MIP-0000: Exhibit A - Certificate of Adoption of the
                000005       Organization Documents, dated August 23, 2022
   303          000006-      MIP-0000: Exhibit B - Guiding Principles, dated August 23,
                000024       2022
   304          000025-      MIP-0000: Exhibit C- Terms of Service, dated August 21, 2022
                000043
   305          000044-      MIP-0000: Exhibit D - Code of Conduct, dated August 21, 2022
                000047
   306          000048-      MIP-0000: Exhibit E - Definitions, dated August 21, 2022
                000060
   314          000078-      MIP-0003: Bootstrap Product Development, dated August 22,
                000081       2022
   316          000083-      MIP-0003: Exhibit A - initialization budget, dated August 29,
                000083       2022
   322          000112-      MIP-0005 voting log, dated August 29, 2022
                000112
   333          000201-      MIP-0008 voting log, dated September 19, 2022
                000201
   347          000257-      MIP-0016: Proposal to the Update to the DAO's Snapshot
                000262       Strategy , dated January 31, 2023
   358          000306-      MIP-0021 voting log, dated February 9, 2023
                000306
   362          000319-      MIP-0023 voting log, dated March 21, 2023
                000319
   369          000354-      Email dated December 29, 2021, from Marc Welton to Reed
                000358       Yurchak; Mark Phillips re: Gitbook
   371          000360-      Email dated January 12, 2022, from Reed Yurchak to Ryan
                000360       Mallory; mmfredyh2@gmail.com re: N/A
   374          000363-      Discord Chat with Fuego and OBStaker dated February 2, 2022
                000363
   375          000364-      Movement DAO (branch deployed) dated February 2, 2022
                000428
   376          000429-      Discord Chat with FoxFlint; cRekto; AliG; mr_fine; Fuego;
                000429       ChoosingtheGarden; mrtdlgc; AmyMarcella and dated February
                             15, 2022


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   378          000431-      Email dated April 11, 2022, from Marc Welton to Reed Yurchak;
                000431       Mark Phillips re: https://gitbook.move.xyz/move/legal/token-
                             sale-and-use
   380          000433-      Email dated July 11, 2022, from Benjamin Reed to Reed Yurchak
                000433       re: Non profit
   381          000434-      Email dated July 14, 2022, from Marc Welton to Mark Phillips
                000446       re: Template, Draft documents
   382          000447-      Email dated July 14, 2022, from Reed Yurchak to Mark Phillips
                000449       re: Reminder: Invoice 1391 from Action Engine Inc.
   387          000458-      Email dated August 17, 2022, from Benjamin Reed to Reed
                000458       Yurchak re: Change of Registered Agent - DAOLABS, LLC
   388          000459-      Text with Alex Fine and Mark Phillips dated August 24, 2022
                000459
   389          000460-      Text with Jon Gordon; Ryan Breslow and Mark Phillips dated
                000460       August 27, 2022
   394          000508-      Email dated September 21, 2022, from Reed Yurchak to
                000510       Benjamin Reed re: DAOLABS Inc EIN
   395          000511-      Email dated October 1, 2022, from Reed Yurchak to Mark
                000529       Phillips re: Movement GitBook
   396          000530-      The Movement Endowment dated October 2, 2022
                000533
   397          000534-      Email dated October 17, 2022, from Reed Yurchak to Benjamin
                000536       Reed re: Review please: DAOLABS Technology License
                             Agreements
   399          000600-      Email dated December 8, 2022, from Mark Phillips to Jon
                000602       Gordon re: A.F. talking points
   405          000618-      Email dated January 29, 2023, from Ryan Breslow to Reed
                000619       Yurchak re: Some important notes
   418          000718-      Email dated January 10, 2022, from Reed Yurchak to Benjamin
                000718       Reed re: Custodial Account
   419          000719-      Email dated January 10, 2022, from Reed Yurchak to Benjamin
                000720       Reed re: Client Information Sheet (Crypto Custodial Account)
   420          000721-      Email dated January 11, 2022, from Reed Yurchak to Benjamin
                000726       Reed re: Engagement Letter, Custodial Crypto Account (fully
                             executed)
   421          000727-      Discord Chat with theryanking; myco|MOVE; OBStacker;
                000727       rice$cracker and mr_fine dated March 24, 2022
   423          000729-      Discord Chat with Felixander; rice$cracker; _anna; Fuego and
                000729       theryanking dated April 7, 2022




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   426            000732-    Email dated August 9, 2022, from Benjamin Reed to Reed
                  000732     Yurchak; Mark Phillips re: [None]
   427            000733-    Email dated August 17, 2022, from Benjamin Reed to Reed
                  000733     Yurchak re: Change of Registered Agent
   430            000736-    Email dated September 27, 2022, from Mark Phillips to Reed
                  000737     Yurchak re: Jango Laboratory Inc Docs - 2 of 3 (no attachment)
   443            000855-    Email dated December 26, 2021, from Marc Welton to j.ted-
                  000857     dao@protonmail.com re: Gitbook Legal Advice
   449            000924-    Peace DAO Movement Juicebox
                  000924
   461            001155-    Declaration of John Gordon dated March 23, 2023
                  001189
   465            001267-    Discord Chat with Fuego and tankbottoms dated N/A
                  001271
   466            001272-    Email dated October 26, 2022, from Ryan Breslow to Jon
                  001272     Gordon; Mark Phillips re: FYI
   471            001305-    Discord Chat with notice to everyone on server
                  001311
   472            001312-    Discord Chat with Alex Fine, Benjamin Reed, David Steen, Jon
                  001313     Gordon, and others
   478            001325-    Chat with Jon Gordon, Mark Phillps, David Steen, and others
                  001325
   481            001533-    Text Message chain with Jon Gordon
                  001622


  Date: June 6, 2023                          Respectfully submitted,

                                                /s/ Jesse Franklin-Murdock

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                                            Reed; and Counterclaim-Plaintiff
                                            MovementDAO




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